       Case 19-11081-pmm                          Doc         Filed 03/21/23 Entered 03/21/23 12:16:21                                 Desc Main
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 Fill in this information to identify the case:

 Debtor 1              Geraldo Parra

 Debtor 2
 (Spouse, if filing)


 United States Bankruptcy Court for the: Eastern District of Pennsylvania (Reading)
                                                                                      (State)
 Case number           19-11081




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                   12/15
If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


   Name of creditor:              Bank of America, N.A                                   Court claim no. (if known): 8
   Last 4 digits of any number you use to                                                Date of payment change:
   identify the debtor's account:                            XXXXXX7751                  Must be at least 21 days after date    5/01/2023
                                                                                         of this notice

                                                                                         New total payment:                      $ 1,366.91
                                                                                         Principal, interest, and escrow, if any

Part 1:         Escrow Account Payment Adjustment

 1. Will there be a change in the debtor's escrow account payment?
            No
            Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                 the basis for the change. If a statement is not attached, explain why:


                       Current escrow payment:           $ 505.48                                      New escrow payment: $ 535.10


Part 2:        Mortgage Payment Adjustment

 2.     Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's
        variable-rate account?

            No
            Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                 attached, explain why:


                       Current interest rate                                   %                       New interest rate:                     %

                       Current principal and interest payment: $                                       New principal and interest payment: $


Part 3:         Other Payment Change

 3. Will there be a change in the debtor's mortgage payment for a reason not listed above?

            No
            Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                 (Court approval may be required before the payment change can take effect.)
                       Reason for change:
                       Current mortgage payment:         $                                             New mortgage payment: $




Official Form 410S1                                                   Notice of Mortgage Payment Change                                           page 1
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Debtor 1           Geraldo Parra                                                         Case number (if known) 19-11081
                   First Name       Middle Name       Last Name




Part 4:         Sign Here


    The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
    telephone number.
    Check the appropriate box:
             I am the creditor.
             I am the creditor's attorney or authorized agent.


    I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
    knowledge, information, and reasonable belief:




     /s/ Randall Miller                                                                       Date March,21, 2023
    Signature



    Print:                Randall Miller__                                                   Title     Agent
                          First Name                  Middle Name     Last Name



    Company               Carrington Mortgage Services, LLC



    Address               43252 Woodward Avenue, Suite180______________________________
                          Number              Street

                          Bloomfield Hills, MI 48302______________________________________
                          City                                        State       ZIP Code



Contact phone             (248) 335-9200     Email       bankruptcy@rsmalaw.com




Official Form 410S1                                                   Notice of Mortgage Payment Change                            page 2
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                            CARRINGTON MORTGAGE SERVICES, LLC
                            P.O. Box 5001       Document             Page 3 of 6
                            Westfield, IN 46074


(800) 561-4567           FAX: (949) 517-5220




                                                           /P1                /     680
GERALDO     PARRA                                                                   YOUR LOAN NUMBER :
LESBIA E LOZADA
                                                                                    DATE: 02/17/23
1140 N 18TH ST
ALLENTOWN                      PA 18104



*** ANNUAL ESCROW ACCOUNT DISCLOSURE STATEMENT - LAST CYCLES ESCROW ACCOUNT HISTORY                                                ***

THIS HISTORY STATEMENT COMPARES YOUR PRIOR ANALYSIS CYCLE PROJECTED ESCROW ACTIVITY TO THE
ACTUAL ESCROW ACTIVITY BEGINNING MAY, 2022 AND ENDING APRIL, 2023. IF YOUR LOAN
WAS PAID-OFF, ASSUMED, OR TRANSFERRED DURING THIS PRIOR CYCLE, OR THE COMPUTATION YEAR IS
BEING CHANGED, ACTUAL ACTIVITY STOPS AT THAT POINT. THIS STATEMENT IS INFORMATIONAL ONLY
AND REQUIRES NO ACTION ON YOUR PART.
                             - - - Y OUR PAY M E NT BR E AK DOW N AS OF M AY, 2 0 2 2 I S - - -
                             PRIN & INTEREST                                        831.81
                             ESCROW PAYMENT                                         488.99
                             SHORTAGE PYMT                                           16.49
                             TOTAL                                                1,337.29
            -- PAYMENTS TO ESCROW --     -- PAYMENTS FROM ESCROW --               -- ESCROW BALANCE --
MONTH       PRIOR PROJECTED ACTUAL PRIOR PROJECTED DESCRIPTION ACTUAL DESCRIPTION PRIOR PROJECTED ACTUAL
                                                                        STARTING BALANCE  = = = >           3615.55             65.14-
MAY           488.99 *            505.13          508.25 *       COUNTY TAX     508.25 COUNTY TAX           3596.29           1304.26-
                                           0                                   1236.00 HOMEOWNERS
JUN           488.99    *        505.13          1194.00 *       HOMEOWNERS                                 2891.28            799.13-
JUL           488.99    *       1010.26                                                                     3380.27            211.13
AUG           488.99    *                        2891.28 *       SCHOOL TAX         3044.52    SCHOOL TAX    977.98 TLP       2833.39- ALP
SEP           488.99    *       1516.09                                                                     1466.97           1317.30-
OCT           488.99    *        505.48                                                                     1955.96            811.82-
NOV           488.99    *                                                                                   2444.95            811.82-
DEC           488.99    *        505.48                                                                     2933.94            306.34-
JAN           488.99    *       2021.92                                                                     3422.93           1715.58
FEB           488.99                       E                                                                3911.92           1715.58
MAR           488.99                       E                                                                4400.91           1715.58
APR           488.99                       E     1274.40         CITY TAX                                   3615.50           1715.58
TOT          5867.88            6569.49          5867.93                            4788.77
UNDER FEDERAL LAW, WHEN YOUR ACTUAL ESCROW BALANCE REACHES ITS LOWEST POINT, THAT BALANCE IS TARGETED
NOT TO EXCEED 1/6TH OF THE ANNUAL PROJECTED DISBURSEMENTS. YOUR LOAN DOCUMENTS OR STATE LAW MAY
SPECIFY THAT YOUR LOWEST BALANCE MUST BE A LOWER AMOUNT THAN THE FEDERAL LAW ALLOWS.
UNDER YOUR MORTGAGE CONTRACT OR STATE OR FEDERAL LAW, YOUR TARGETED LOW POINT ESCROW BALANCE
(TLP) WAS $977.98. YOUR ACTUAL LOW POINT ESCROW BALANCE (ALP) WAS $2,833.39-.
BY COMPARING THE PROJECTED ESCROW TRANSACTIONS WITH THE ACTUAL TRANSACTIONS YOU CAN
DETERMINE WHERE A DIFFERENCE MAY HAVE OCCURRED. AN ASTERISK (*) INDICATES A DIFFERENCE IN EITHER THE
AMOUNT OR DATE OF THE PROJECTED ACTIVITY AND THE ACTUAL ACTIVITY.
THE LETTER "E" BESIDE AN AMOUNT INDICATES THAT THE PROJECTED ACTIVITY HAS NOT YET OCCURRED DUE TO THE
DATE OF THIS STATEMENT.
IF THERE ARE NO PRIOR PAYMENTS TO OR FROM ESCROW SHOWN, THERE WAS NO PRIOR PROJECTION
TO WHICH THE ACTUAL ACTIVITY COULD BE COMPARED.
Your projected escrow balance consists of the following detail (an * next to an amount
indicates this is a total that represents more than one payment to or disbursement from escrow):

Escrow pay ments up to escrow analy sis effectiv e date:
09/21               $505.13            10/21           $505.13              11/21         $3,030.78    *



           ***     ANNUAL ESCROW ACCOUNT DISCLOSURE STATEMENT - PROJECTIONS                                 ***
                PLEASE REVIEW THIS STATEMENT CLOSELY - YOUR MORTGAGE PAYMENT MAY BE AFFECTED.
THIS STATEMENT TELLS YOU OF ANY CHANGES IN YOUR MORTGAGE PAYMENT, ANY SURPLUS REFUNDS, OR
ANY SHORTAGE OR DEFICIENCY THAT YOU MUST PAY. IT ALSO SHOWS YOU THE PROJECTED ESCROW
A C T I V I T Y F O R Y O U R E S C R O W C Y C L E B E G I N N I N G M A Y, 2 0 2 3 A N D E N D I N G A P R I L, 2 0 2 4.
---------------------   PROJECTED PAYMENTS FROM ESCROW - MAY, 2023 THROUGH APRIL, 2024                            --------------
                             HOMEOWNERS INSU                                        1,236.00
                             COUNTY TAX                                               508.25
                             SCHOOL TAX                                             3,044.52
                             CITY TAX                                               1,274.40

                             TOTAL                                                  6,063.17
                             PERIODIC PAYMENT TO ESCROW                               505.26       (1/12 OF "TOTAL FROM ESCROW")

                                               * * * * CONTINUED ON NEXT PAGE * * * *
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                                                    * * * * CONTINUATION * * * *



-------------------- PROJECT ED ESCROW ACT IVIT Y - M AY, 2023 T HROUGH APRIL, 2024 -----------------------
               ---- PROJECTED PAYMENTS --                             -- ESCROW BALANCE COMPARISON --
MONTH          TO ESCROW       FROM ESCROW       DESCRIPTION         PROJECTED          REQUIRED
                                ACTUAL STARTING BALANCE = = = >       3,420.17           3,778.25
MAY,23          505.26                   508.25           COUNTY TAX                       3,417.18             3,775.26
JUN,23          505.26                 1,236.00           HOMEOWNERS INSU                  2,686.44             3,044.52
JUL,23          505.26                                                                     3,191.70             3,549.78
AUG,23          505.26                 3,044.52           SCHOOL TAX                         652.44 ALP         1,010.52 RLP
SEP,23          505.26                                                                     1,157.70             1,515.78
OCT,23          505.26                                                                     1,662.96             2,021.04
NOV,23          505.26                                                                     2,168.22             2,526.30
DEC,23          505.26                                                                     2,673.48             3,031.56
JAN,24          505.26                                                                     3,178.74             3,536.82
FEB,24          505.26                                                                     3,684.00             4,042.08
MAR,24          505.26                                                                     4,189.26             4,547.34
APR,24          505.26                 1,274.40           CITY TAX                         3,420.12             3,778.20

--------------------------------- DETERMINING THE SUFFICIENCY OF YOUR ESCROW BALANCE -----------------------------------

IF THE PROJECTED LOW POINT BALANCE (ALP) IS
LESS THAN THE REQUIRED LOW POINT BALANCE (RLP),
THEN THERE IS AN ESCROW SHORTAGE....                                                  THE ESCROW SHORTAGE IS....               358.08- *
* THIS SHORTAGE THAT WILL BECOME PART OF YOUR MONTHLY PAYMENT
W I L L B E C O L L E C T E D F O R A P E R I O D O F 1 2 M O N T H S F R O M M a y 1 , 2 0 2 3.


AT THE TIME OF YOUR BANKRUPTCY FILING, YOUR ESCROW SHORTAGE INCLUDED IN THE POC (PROOF OF CLAIM) IS $957.07.

------------------------------------- CALCULATIONS OF YOUR NEW PAYMENT AMOUNT ------------------------------------------------
                          PRIN & INTEREST                                         831.81 *
                          ESCROW PAYMENT                                          505.26
                          SHORTAGE PYMT                                            29.84
BORROWER PAYMENT STARTING WITH THE PAYMENT DUE                   05/01/23        ==>               1,366.91

* IF YOUR LOAN IS AN ADJUSTABLE RATE MORTGAGE, THE PRINCIPAL & INTEREST PORTION OF
  YOUR PAYMENT MAY CHANGE WITHIN THIS CYCLE IN ACCORDANCE WITH YOUR LOAN DOCUMENTS.
NOTE :         YOUR ESCROW BALANCE MAY CONTAIN A CUSHION. A CUSHION IS AN AMOUNT OF MONEY
               HELD IN YOUR ESCROW ACCOUNT TO PREVENT YOUR ESCROW BALANCE FROM BEING OVERDRAWN
               WHEN INCREASES IN THE DISBURSEMENTS OCCUR. FEDERAL LAW AUTHORIZES A MAXIMUM
               ESCROW CUSHION NOT TO EXCEED 1/6TH OF THE TOTAL ANNUAL PROJECTED ESCROW
               D I S B U R S E M E N T S M A D E D U R I N G T H E A B O V E C Y C L E . T H I S A M O U N T I S $ 9 7 7 . 9 8.
               YOUR LOAN DOCUMENTS OR STATE LAW MAY REQUIRE A LESSER CUSHION. YOUR MORTGAGE
               CONTRACT AND STATE LAW ARE SILENT ON THIS ISSUE. WHEN YOUR ESCROW BALANCE
               REACHES ITS LOWEST POINT DURING THE ABOVE CYCLE, THAT BALANCE IS TARGETED
               TO BE YOUR CUSHION AMOUNT.
               Y O U R E S C R O W C U S H I O N F O R T H I S C Y C L E I S $ 1 , 0 1 0 . 5 2.
  YOUR PROJECTED ESCROW BALANCE CONSISTS OF THE FOLLOWING DETAIL (AN * NEXT TO AN AMOUNT INDICATES
  THIS IS A TOTAL THAT REPRESENTS MORE THAN ONE PAYMENT TO OR DISBURSEMENT FROM ESCROW):

  Escrow pay ments up to escrow analy sis effectiv e date:
 01/23           $505.48                   02/23              $505.48              03/23           $1,010.96*

  Escrow disbursements up to escrow analy sis effectiv e date:
  04/23       $1,274.40         CITY TAX



-VERBAL INQUIRIES & COMPLAINTS-
For verbal inquiries and complaints about                your mortgage loan, please contact the CUSTOMER SERVICE DEPARTMENT
for Carrington Mortgage Services, LLC, by                calling 1-800-561-4567. The CUSTOMER SERVICE DEPARTMENT for
Carrington Mortgage Services, LLC is toll                free and you may call from 8:00 a.m. to 8:00 p.m. Eastern Time,
Monday through Friday. You may also visit                our website at https://carringtonmortgage.com/ .

-IMPORTANT BANKRUPTCY NOTICE-
If you have been discharged from personal liability on the mortgage because of bankruptcy
proceedings and have not reaffirmed the mortgage, or if you are the subject of a pending
bankruptcy proceeding, this letter is not an attempt to collect a debt from you but merely
provides informational notice regarding the status of the loan.  If you are represented by
an attorney with respect to your mortgage, please forward this document to your attorney.


-CREDIT REPORTING AND DIRECT DISPUTES-
We may report information about your account to credit bureaus. Late payments, missed payments,
or other defaults on your account may be reflected in your credit report.  As required by law,
you are hereby notified that a negative credit report reflecting on your credit record may be
submitted to a credit reporting agency if you fail to fulfill the terms of your credit
obligations. If you have concerns regarding the accuracy of any information contained in a
consumer report pertaining to this account, you may send a direct dispute to Carrington
Mortgage Services, LLC by fax to 800-486-5134 or in writing to Carrington Mortgage Services,
LLC, and Attention: Customer Service, P.O. Box 5001, Westfield, IN 46074. Please include your
loan number on all pages of the correspondence.

-MINI MIRANDA-
This communication is from a debt collector and it is for the purpose of collecting a debt and
any information obtained will be used for that purpose. This notice is required by the
provisions of the Fair Debt Collection Practices Act and does not imply that we are attempting
to collect money from anyone who has discharged the debt under the bankruptcy laws of the
United States.

-HUD COUNSELOR INFORM AT ION-
If you would like counseling or assistance, you may obtain a list of HUD-approved homeownership
counselors or counseling organizations in your area by calling the HUD nationwide toll-free
telephone number at (800) 569-4287 or toll-free TDD (800) 877-8339, or by going to
http://www.hud.gov/offices/hsg/sfh/hcc/hcs.cfm. You can also contact the CFPB at (855) 411-2372, or
by going to www.consumerfinance.gov/find-a-housing-counselor.




                                                * * * * CONTINUED ON NEXT PAGE * * * *
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                                                Document
                                               SERVICES
                                                              Page 5 of 6
                         P.O. BOX 5001
                         Westfield, IN 46074


(800) 561-4567 FAX: (949) 517-5220




                                                                        YOUR LOAN NUMBER :
                                                                        DATE: 02/17/23



        -EQUAL CREDIT OPPORTUNITY ACT NOTICE-
        The Federal Equal Credit Opportunity Act prohibits creditors from discriminating against credit
        applicants on the basis of race, color, religion, national origin, sex, marital status, or age
        (provided the applicant has the capacity to enter into a binding contract); because all or part
        of the applicant’s income derives from any public assistance program; or because the applicant
        has, in good faith, exercised any right under the Consumer Credit Protection Act. The Federal
        Agency that administers Carrington Mortgage Services, LLC's compliance with this law is the
        Federal Trade Commission, Equal Credit Opportunity, Washington, DC 20580.

        -SCRA DISCLOSURE-
        MILITARY PERSONNEL/SERVICEMEMBERS:    If you or your spouse is a member of the military, please contact us
        immediately. The federal Servicemembers Civil Relief Act and comparable state laws afford significant protections
        and benefits to eligible military service personnel, including protections from foreclosure as well as interest
        rate relief. For additional information and to determine eligibility please contact our Military Assistance Team
        toll free at 1-888-267-5474.

        -NOTICES OF ERROR AND INFORMATION REQUESTS, QUALIFIED WRITTEN REQUESTS (QWR)-
        Written complaints and inquiries classified as Notices of Error and Information Requests or QWRs must be submitted
        to Carrington Mortgage Services, LLC by fax to 800-486-5134, or in writing to Carrington Mortgage Services, LLC,
        and Attention: Customer Service, P.O. Box 5001, Westfield, IN 46074. Please include your loan number on all pages
        of the correspondence.   You have the right to request documents we relied upon in reaching our determination. You
        may request such documents or receive further assistance by contacting the CUSTOMER SERVICE DEPARTMENT for
        Carrington Mortgage Services, LLC toll free at (800) 561-4567, Monday through Friday, 8:00 a.m. to 8:00 p.m.
        Eastern Time. You may also visit our website at https://carringtonmortgage.com/
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                        UNITED STATES BANKRUPTCY COURT
                  EASTERN DISTRICT OF PENNSYLVANIA (READING)
                   _______________________________________________

In Re:                                                               Case No: 19-11081 - Chapter: 13
                                                                           Judge: Patricia M. Mayer
Geraldo Parra,

                      Debtor



                          CERTIFICATE OF SERVICE
______________________________________________________________________________

        The undersigned states that on March 21, 2023, copies of the Notice of Mortgage Payment
Change were served upon the following parties via first class mail, with proper postage affixed thereto
the Debtors and via the Court's CM-ECF electronic filing system to the Debtor's Attorney and Chapter 13
Trustee.

Geraldo Parra                      Debtor's Attorney                Chapter 13 Trustee
1140 N 18th Street                 Charles Laputka                  Scott F. Waterman
Allentown, PA 18104                1344 W. Hamilton St.             2901 St. Lawrence Ave.
                                   Allentown, PA 18102              Suite 100
                                                                    Reading, PA 19606


                                                                    U.S. TrusteeOffice of the United
                                                                    States Trustee
                                                                    Robert NC Nix Federal Bldg
                                                                    Suite 320
                                                                    Pittsburgh, PA 19107



The above is true to the best of my information, knowledge and belief.

                                                     Signed: /s/ Randall Miller
                                                     Randall Miller
                                                     43252 Woodward Avenue, Suite 180
                                                     Bloomfield Hills, MI 48302
                                                     Telephone (248) 335-9200
